  Case: 1:15-cv-06191 Document #: 137 Filed: 07/12/18 Page 1 of 13 PageID #:1736




                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

 LINDA S. VANDENBURGH,                            )
                                                  )
                      Plaintiff,                  )
                                                  )
                      v.                          )
                                                  )
 Bannockburn Police Officer ROBERT                ) No.: 1:15-CV-06191
 OGDEN; Highland Park Police Officer              )
 GERALD CAMERON; Highland Park Police             )
 Officer PHILIP DELAURENTIS; Highland             )
 Park Police Officer AMY HYNDMAN;                 )
 Deerfield Police Officer JOHN DOE #1;            )
 Highland Park Police Officer JOHN DOE #2;        ) Judge Sara L. Ellis
 RAVINIA FESTIVAL ASSOCATION, an                  ) Magistrate Judge Maria Valdez
 Illinois Not-For-Profit Organization; THE        )
 CITY OF HIGHLAND PARK, a Municipal               )
 Corporation; THE VILLAGE OF                      )
 BANNOCKBURN, a Municipal Corporation;            )
 and THE VILLAGE OF DEERFIELD, a                  )
 Municipal Corporation,                           )
                                                  )
                      Defendants.
                                                  )

       PLAINTIFF’S OBJECTIONS TO MAGISTRATE VALDEZ’S REPORT AND
       RECOMMENDATION REGARDING DEFENDANT RAVINIA’S MOTION TO
       ENFORCE PURPORTED SETTLEMENT AGREEMENT
       Plaintiff, Linda Vandenburgh, by and through her undersigned counsel, respectfully

submits the following Objections to the Magistrate’s June 27, 2018 Report and Recommendation

(“Recommendation”) regarding Ravinia Festival Association’s (“Ravinia”) Motion to Enforce

Settlement Agreement (“Motion”):




                                              1
  Case: 1:15-cv-06191 Document #: 137 Filed: 07/12/18 Page 2 of 13 PageID #:1737



       ARGUMENT

       A. The Recommendation Should Be Rejected Because Ravinia Admits That
          Important Material Terms Of A Settlement Agreement Still Remain To Be
          Negotiated And Agreed Upon By And Between The Parties
       The Magistrate concluded that no material terms remained to be negotiated between the

parties. In so finding, the Magistrate focused on just one issue with respect to alleged remaining

material terms, i.e., the “blacklist issue.” Thus, the Magistrate simply completely ignored the

other undisputed record evidence, including the testimony of Ravinia’s own counsel, that

establishes conclusively that significant other material terms remain to be negotiated and agreed

upon. In any event, based upon the undisputed record evidence, the Magistrate also erred with

respect to the finding that the “blacklist” issue is not a material term.

       The Other Material Terms Issue (Non-Blacklist Issues)

       At the evidentiary hearing before the Magistrate, Ravinia proffered the testimony of its

own counsel – as called as an adverse witness by Plaintiff’s counsel. Ravinia’s counsel admitted

that important material terms of the parties’ purported settlement agreement still remain to be

negotiated and agreed upon.

       For example, Ravinia’s counsel testified that the draft settlement agreement he provided

to Plaintiff’s counsel (and which he filed with this Court) did not contain any “confidentiality”

provision. See March 22, 2018 hearing transcript, previously submitted by Plaintiff’s counsel

and attached to Plaintiff’s Post-Hearing submission to the Magistrate (Dkt. No. 131, at Exhibit

1), at p. 49:5-25. Ravinia’s counsel admitted that it is, and was, an “important” material term.

Id. at p. 50:1-3. Accordingly, Ravinia’s counsel admitted that his client, Ravinia, would only

agree to a settlement agreement between the parties if a “finalized” version of it specifically



                                                   2
  Case: 1:15-cv-06191 Document #: 137 Filed: 07/12/18 Page 3 of 13 PageID #:1738



included a mutually agreed upon confidentiality provision – which does not yet exist, and which

has never been negotiated or agreed upon. Id. at p. 56:1-5.

        Nevertheless, the Magistrate not only completely ignored and overlooked these

undisputed facts, the Magistrate made no mention whatsoever of them in the Recommendation.

For that reason alone, the Recommendation is not only in error, it is directly contrary to the

record evidence.

        Perhaps even more significantly, Ravinia’s counsel further admitted that the settlement

agreement that is the subject of Ravinia’s Motion to Enforce is merely a “draft release.” Id. at p.

51:24-25. Thus, incredibly, Ravinia’s counsel admitted that the settlement agreement that is the

subject of Ravinia’s Motion to Enforce is not final. Id. at p. 52:1-2. Indeed, Ravinia’s counsel

admitted that the settlement agreement that Ravinia seeks to enforce is actually still “subject to

negotiation.” Id. at p. 52:3-4.

        However, once again, the Magistrate nevertheless not only completely ignored and

overlooked these undisputed facts, the Magistrate made no mention whatsoever of them in the

Recommendation. For that additional reason, the Recommendation is not only in error, it is

directly contrary to the record evidence.

        Even if all of the foregoing admissions had not been made by Ravinia and its counsel,

there are several additional reasons that support this Court rejecting the Recommendation and

finding that it is in error.

        Here, Ravinia’s counsel further testified and admitted that a “non-disparagement”

provision is yet another significant material term that is similarly not in the parties’ draft

settlement agreement. Id. at p. 56:12-25. Because of the absence of such a provision in the


                                                   3
  Case: 1:15-cv-06191 Document #: 137 Filed: 07/12/18 Page 4 of 13 PageID #:1739



draft, Ravinia’s counsel testified and admitted that he did not even know whether his client,

Ravinia, would go forward with a settlement/settlement agreement with the Plaintiff without

such a non-disparagement provision as part of the deal and agreement between the parties. Id.

In addition, Ravinia’s counsel testified that he has yet to even discuss that issue with his client,

and obtain his client’s position with regard to that issue. Id.

       Nonetheless, once again, the Magistrate not only completely ignored and overlooked

these undisputed facts, the Magistrate made no mention whatsoever of them in the

Recommendation. For that additional reason, the Recommendation is not only in error, it is

directly contrary to the record evidence.

       Furthermore, the draft settlement agreement contains an extensive “indemnification

provision” pursuant to which the Plaintiff is asked to indemnify Ravinia. Id. at p. 64:10-16.

Ravinia’s counsel admitted that such a provision, i.e., an indemnification provision of any kind,

was never discussed by and between Ravinia’s counsel and Plaintiff’s counsel at any time during

the settlement negotiations. Id. at p. 10-16. It is similarly undisputed that neither Plaintiff Ms.

Vandenburgh nor her counsel ever agreed to such a provision. Id. at pp. 25:7-16; 67:1-24.

       Again, the Magistrate not only completely ignored and overlooked these undisputed

facts, the Magistrate made no mention whatsoever of them in the Recommendation. For that

additional reason, the Recommendation is not only in error, it is directly contrary to the record

evidence.

       Each and every one of the foregoing reasons alone, or when considered together, mandate

that this Court reject the Recommendation. In short, it is black letter law that there must clearly

be a “meeting of the minds,” including agreement upon all material terms, in order for a


                                                  4
  Case: 1:15-cv-06191 Document #: 137 Filed: 07/12/18 Page 5 of 13 PageID #:1740



settlement agreement to be enforceable. See, e.g., Quinlan v. Stouffe, 823 N.E.2d 597, 355

Ill.App.3d 830 (Ill. App. 2005)

        The Blacklisting Material Term Issue

        If all of the foregoing somehow did not provide this Court with a sufficient basis for

rejecting the Recommendation, the “blacklist” material term issue provides it with yet another.

Here, it is undisputed that a “Trespass Notice” (“Notice”) was issued to the Plaintiff some years

ago by Ravinia arising out of the underlying occurrence in this case. However, it is undisputed

that the Notice did not indicate that Plaintiff is or will be blacklisted by Ravinia, nor did it

indicate that she will be prohibited from purchasing tickets on-line or otherwise. Id. at pp.

34:11-35:14; see also Plaintiff’s hearing Exhibit No. 2.

        Thus, the issue of whether, and to what extent, Plaintiff will be blacklisted still remains to

be negotiated and agreed upon by the parties. Moreover, it is undisputed that Plaintiff would not

agree to any settlement/settlement agreement with Ravinia unless and until she was not subject to

being blacklisted. Id at p. 25:3-16. Accordingly, it is similarly undisputed that Plaintiff’s

counsel was not authorized by the Plaintiff to enter into a settlement/settlement agreement unless

and until Ravinia agreed that she would not be blacklisted. Id.

        A further summary of the testimony on this blacklisting issue is also instructive. Here, in

connection with the attorneys’ attempted negotiation of a settlement/settlement agreement,

Plaintiff’s counsel specifically asked Ravinia’s counsel whether the terms of the parties’

settlement agreement would include the blacklisting of Plaintiff by Ravinia. Id. at p. 40:23-

41:14; see also Plaintiff’s Group Exhibit, at December 13, 2017 e-mail. Tellingly, Ravinia’s




                                                   5
  Case: 1:15-cv-06191 Document #: 137 Filed: 07/12/18 Page 6 of 13 PageID #:1741



counsel did not even know whether it did or did not, or whether his client was insisting upon that

as a provision of the parties’ settlement agreement. Id.; see also pp. 29:23-30:18.

       As a result, Ravinia’s counsel in turn reached out to his client (i.e., Ravinia

representatives, including Mr. Schmitz), to determine whether, as part of the settlement

agreement, Ravinia was insisting upon the blacklisting of the Plaintiff. Id. at pp. 30:17-17;

41:15-47:1. It is undisputed that the blacklisting of the Plaintiff had never previously been

discussed or negotiated between counsel for the parties prior to Ravinia’s counsel tendering to

Plaintiff’s counsel a draft settlement agreement. Id. at pp. 46:6-47:1. Ravinia’s representative

told Ravinia’s counsel that Ravinia was insisting on the blacklisting of Plaintiff such that she

would be barred from ordering tickets, on-line or otherwise. Id. at p. 31:22:33:6.

       It is undisputed that such a term is not in the draft settlement agreement filed by Ravinia

with this Court. Yet, according to Ravinia, it is a significant material terms that needs to be

included in the parties’ agreement.

       Accordingly, the parties’ failure to agree upon yet another material term, i.e., the

blacklisting of Plaintiff, serves as another basis for this Court to find that the Recommendation is

in error because there has not been a meeting of the minds and there has not been agreement

upon all of the material terms of a settlement agreement.

       Finally, it is important to note that, with respect to this material blacklist issue, the

Recommendation takes a one-sided approach to this issue while ignoring the other undisputed

record evidence. According to the Recommendation, this issue does not matter at all because it

was not raised by Plaintiff’s counsel prior to the time that Ravinia’s counsel tendered the draft

settlement agreement. That completely misses two critical points. First, as noted above, Ravinia


                                                   6
  Case: 1:15-cv-06191 Document #: 137 Filed: 07/12/18 Page 7 of 13 PageID #:1742



admits that it is in fact a material term. Accordingly, for the Recommendation to find it is not is

without basis. Second, it ignores the undisputed record evidence, further discussed below, that

Plaintiff’s counsel did not even have the authority to enter into a settlement agreement on behalf

of the Plaintiff if she were to be blacklisted as part of the parties’ settlement agreement.

   B. The Recommendation Should Be Reject Because It Is Similarly Undisputed That
      Plaintiff’s Counsel Did Not Have The Authority From Plaintiff, Ms. Vandenburgh,
      To Agree To The Terms Of The Draft Settlement/ Settlement Agreement, Beyond
      The Mere Monetary Amount To Be Paid By Ravinia

       Even if all of the foregoing were somehow not enough to serve as a basis for rejecting the

Recommendation, this Court should still deny it because, as set forth above, it is undisputed -

and it remains unrebutted by Ravinia - that Plaintiff’s counsel did not have the authority or

authorization from the Plaintiff, Ms. Vandenburgh, to agree to the terms of a settlement-

settlement agreement beyond the mere monetary terms. Id. at p. 25:3-16; 66:23-68:24. Ravinia

not even dispute or challenge that in any way during the evidentiary hearing, and thus did not

dispute or challenge that in its post-hearing submission to the Magistrate.

       Yet, the Recommendation completely ignores this undisputed fact, and does not even

mention it. Instead, the Recommendation treats this as merely an argument being made by the

Plaintiff and her counsel. It is not an argument, it is an undisputed fact. Indeed, the testimony

on this point at the evidentiary hearing was as follows:

       Q.      Prior to receiving the draft settlement agreement, were you authorized by the

plaintiff to accept any and all material terms of any proposed agreement?

       A.      No.




                                                  7
  Case: 1:15-cv-06191 Document #: 137 Filed: 07/12/18 Page 8 of 13 PageID #:1743



       Q.      And at the time you wrote this 10:13 email on December 13th, had you been

authorized by Ms. VanDenburgh [sic] to accept any and all terms of a settlement agreement?

       A.      Yes. Not any and all, but yes, settle at $25,000, but it 11 would have to include at

that point in time an apology from Ravinia and mutual non-disparagement, non-disclosure and

release and not being blacklisted.

       Q.      And at the time that you responded to Mr. Bernover’s email, were you authorized

to accept that draft as written?

       A.      No.

(See Hearing Trans., at Dkt. 131, at Ex. 1, at p. 25)

       ________________________________

       THE COURT:              I do have a question of clarification for Mr. Leonard. And, Mr.

       Leonard, just to remind you, you are still under oath. And the question that I had was:

       When you received a copy of the joint -- the proposed joint motion for good faith finding

       and dismissal and the attached release of all claims, at the time that you forwarded the

       response email saying “Agreed,” period, did you in fact have authority from your client

       to agree.

       MR. LEONARD:            No.

       THE COURT:              So when you said agreed, you didn’t have the authority to agree?

       MR. LEONARD:            Well, I was just agreeing to the filing of the motion. I wouldn’t

       seek her authority to file a motion, but I didn't have authority to agree to the terms of the

       written settlement agreement. That obviously had to be negotiated. My client had to

                                                  8
Case: 1:15-cv-06191 Document #: 137 Filed: 07/12/18 Page 9 of 13 PageID #:1744



    agree to that. But I wouldn’t go to Ms. VanDenburgh and say, “Is it okay to file the

    motion?”

    THE COURT:             Did you have authority to agree to the language of the motion?

    The motion had language that, you know, the parties hereby, you know, submit to the

    Court language. So there was a document that was intended to be filed with the Court.

    MR. LEONARD:           Well, since I hadn’t discussed the release with her, no, I didn’t

    have authority to agree to the language of the release.

    THE COURT:             So when you said agreed, what did that mean then?

    MR. LEONARD:           File the motion.

    THE COURT:             But the motion was to be filed as a joint motion.

    MR. LEONARD:           Correct.

    THE COURT:             So by its very nature of the motion, it was something that you

    would have had to have agreed to do.

    MR. LEONARD:           To file the motion, but not to -- that we had agreement on the terms

    of a settlement. That’s a whole different ballgame.

    THE COURT:             Did you review the language of the motion?

    MR. LEONARD:           Probably not.

    THE COURT:             But you had authority to agree to the language of the motion itself.

    MR. LEONARD:           Well, to the extent the language of the motion suggested we have




                                              9
 Case: 1:15-cv-06191 Document #: 137 Filed: 07/12/18 Page 10 of 13 PageID #:1745



       agreement on the terms of a settlement agreement, the actual material terms, no, but I

       would have agreement to have him file a motion.

       THE COURT:              So when you say agreed, what did that mean?

       MR. LEONARD:            He can file the motion. I assumed we would reach the terms of a

       settlement agreement, just like he said, subject to further negotiation.

       THE COURT: All right. Thank you.

(Id. at pp. 67-69)

       Therefore, it is undisputed - and unrebutted by Ravinia – that Plaintiff’s counsel never

“agreed” to the terms of the draft settlement agreement provided by Ravinia’s counsel. Id. at pp.

18:5-17; 24:18-25:6; 66:23-68:24. All Plaintiff’s counsel agreed to was the filing of the Motion

by Ravinia’s counsel - and that is all that Ravinia’s counsel asked of Plaintiff’s counsel. Id. In

other words, Ravinia’s counsel did not ask Plaintiff’s counsel if he or his client agreed to the

terms of the draft settlement agreement, he instead only asked whether he had permission to file

the Motion. Id.

       Thus, even if Plaintiff’s counsel could have been more clear in his response e-mail back

to Ravinia’s counsel, that does not establish the meeting of the minds of the parties, let alone a

meeting of the minds of their counsel, on all of the material terms of a settlement

agreement/settlement agreement document. In fact, it is undisputed that the only thing that

Plaintiff’s counsel ever agreed to is the sum of money it would take to resolve the Plaintiff’s

claims against Ravinia. Id. at p. 39:9-21. Even then, in agreeing only to that monetary amount,

Plaintiff’s counsel made it clear to Ravinia’s counsel that any settlement was “obviously subject



                                                 10
 Case: 1:15-cv-06191 Document #: 137 Filed: 07/12/18 Page 11 of 13 PageID #:1746



to a suitable release/settlement agreement.” Id. (emphasis added). The parties have never

agreed upon all of the material terms of such an agreement.

       The Recommendation attempts to address and skirt these undisputed in two ways: 1) by

pointing out that a substantial period of time purportedly passed between Mr. Leonard

authorizing the filing of the Motion, and when Mr. Leonard let Ravinia’s counsel know that the

parties still had to reach agreement upon all of the material terms of a written settlement

agreement, and 2) by relying upon the concept of “apparent authority.”

       With respect to the first point, it is undisputed that, after authorizing the filing of the

Motion only, Mr. Leonard got back to Ravinia’s counsel within an extremely short period of

time to let him know, re-affirm, and again emphasize that the parties’ did not have agreement

upon the terms of a written settlement agreement unless and until all material terms could be

agreed upon. That time period was approximately thirty minutes. Id. at pp. 23-24.

       With respect to the second point, there is no way that Ravinia’s counsel could have then

relied upon “apparent authority” to conclude that the parties had in fact agreed upon all of the

material terms of a settlement agreement. In fact, just the opposite is true. It is undisputed that

Ravinia’s counsel went ahead and subsequent filed the Motion at issue (much later), knowing

that a genuine dispute existed between the parties as to whether the parties had in fact agreed

upon all of the material terms of a written settlement agreement.

       Moreover, the Recommendation is flat out wrong with respect to its attempted

interpretation and application of the doctrine of “apparent authority.” It requires at least two

elements that are wholly absent in this record: 1) a reliance upon an act or statement of the

principal (here, Ms. Vandenburgh), and not an act or statement by the agent (here, her counsel),


                                                  11
  Case: 1:15-cv-06191 Document #: 137 Filed: 07/12/18 Page 12 of 13 PageID #:1747



and 2) reasonable reliance. See, e.g., Smith v. State Farm, 30 F.Supp.3d 765 (N.D. Ill. 2014).

With respect that first requirement, it is undisputed that neither Ravinia nor its counsel ever

interacted or communication with Ms. Vandenburgh during the settlement negotiation. Thus, as

a matter law, Ravinia never relied upon any acts or statement of her, as the principal. In any

event, certainly any “reliance” by Ravinia and its counsel could not have been reasonable, as a

matter of law, in light of the fact that Ravinia knew, at the time that it subsequently (and much

later) filed a Motion to Enforce Settlement, that a genuine dispute then existed as to whether or

not the parties had reached a meeting of the minds on all of the material terms of a written

settlement agreement.

        For all of those additional reasons, this Court should find the Recommendation is in error,

and reject it.

        WHEREFORE, Plaintiff, Linda Vandenburgh, by and through her undersigned counsel,

respectfully requests the entry of an Order rejecting the Magistrate’s Recommendation, and

accordingly denying Defendant, Ravinia Festival Association’s Motion to Enforce Settlement

Agreement in its entirety, and for such other and further relief as is appropriate under the

circumstances.




                               RESPECTFULLY SUBMITTED,


                               By:    s/Michael I. Leonard
                                       Counsel for Plaintiff




                                                 12
 Case: 1:15-cv-06191 Document #: 137 Filed: 07/12/18 Page 13 of 13 PageID #:1748




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                                CERTIFICATE OF SERVICE

      The undersigned attorney hereby certifies that, on July 12, 2018, he served the above
document to all counsel of record by ECF filing it.


                                                 /s/Michael I. Leonard




                                              13
